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  2   District of Arizona
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      Attorneys for the United States of America
  8
                             UNITED STATES BANKRUPTCY COURT
  9
                                       DISTRICT OF ARIZONA
10
                                                              Chapter 13 Proceeding
11     In re: Catherine Anne Williamson,
                                                              Case No. 15-bk-15653
12                                                                      16-bk-00788
                            Debtor.
13                                                             (Jointly Administered)
14     In re: Robert Lancaster Williamson, III,          NOTICE OF APPEARANCE
15                          Debtor.
16
17           PLEASE TAKE NOTICE that Anne E. Nelson, Assistant U.S. Attorney for the
18 District of Arizona will serve as counsel of record for the United States on behalf of the Internal
19 Revenue Service. Please serve all future pleadings, orders, and communications in this matter
20 on the undersigned via the electronic filing system and/or the following address:
21                                         Anne E. Nelson
22                                     Assistant U.S. Attorney
                                        U.S. Attorney’s Office
23                                     Two Renaissance Square
24                                   40 North Central, Suite 1800
                                      Phoenix, AZ 85004-4408
25                                    Telephone: (602) 514-7500
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27
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  1          This notice of appearance does not waive the requirement that the debtor or other
  2   interested party must serve the United States in accordance with Fed. R. Bank. P. 7004 if
  3   an adversary proceeding or contested matter is initiated against the United States.
  4
  5          RESPECTFULLY SUBMITTED this 15th day of August, 2019.
  6
                                                       MICHAEL BAILEY
  7                                                    United States Attorney
                                                       District of Arizona
  8
                                                       /s Anne E. Nelson
  9                                                    Assistant U.S. Attorney
10
11
      Original of the foregoing filed
12    Electronically on August 15, 2019, with:
13    United States Bankruptcy Court
      District of Arizona
14
      Copy of the foregoing served
15    Via U.S. Mail on August 13, 2019, to:
16    Mark Wesbrooks
      15396 N. 83rd Avenue
17    Suite C-100
      Peoria, AZ 85381
18    Attorney for Debtor
19    Russell Brown
      Chapter 13 Trustee
20    Suite 800
      3838 N. Central Ave.
21    Phoenix, AZ 85012
22    U.S. Trustee
      Office of the U.S. Trustee
23    230 N. First Ave.
      Suite 204
24    Phoenix, AZ 85003
25
      /s Anne E. Nelson
26    U.S. Attorney’s Office
27
28


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